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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


IN RE: PATRICK JOSEPH      )
CHAREST                    )
                           )                 MISC. ACTION NO.
REQUEST FOR ARBITRATION IN )                  2:19mc3852-MHT
THE BRAGGS LITIGATION      )                       (WO)
                           )
BEFORE MAGISTRATE JUDGE    )
DOYLE AS ARBITRATOR        )

                                ORDER

    Plaintiff        Patrick      Joseph     Charest      has        filed

objections to Magistrate Judge Jerusha Adams’s orders

of August 10, 2021, and a motion to alter, vacate or

amend    (Doc.   35).       Magistrate      Judge    Adams      is     the

discovery    judge    in   this    matter.        Magistrate         Judge

Stephen Doyle is the arbitrator.             See Order Appointing

the Arbitrator (Doc. 24).

    It is ORDERED that:

    (1) To the extent that plaintiff Patrick Joseph

Charest’s objections and motion can be construed to ask

the district judge in these proceedings to review the
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orders, they are dismissed.                The district judge has no

such authority.         See Consent Decree Concerning Claims

Arising   Under       the    ADA,     Braggs      v.    Dunn,     Case     No.

2:14-cv-601-MHT (Doc. 728) at 71 (“If the issue is one

that impacts fewer than twelve (12) inmates, resolution

through   the    arbitration         process      shall    be   the      final

resolution under this Amended Agreement.”); see also

Phase 1 Final Settlement Approval Opinion and Order,

Braggs v. Dunn, Case No. 2:14-cv-601-MHT (Doc. 727) at

84 (“[T]he decision of the arbitrator is binding (that

is, not subject to appeal) ... if the issue affects

fewer   than    twelve      (12)     inmates.”)        (quoting    Parties’

Joint Stip. (Doc. 638) at 1).

    (2)    To     the       extent        that    plaintiff       Charest’s

objections      and     motion       can     be    construed       to      ask

Magistrate Judge Doyle, as arbitrator, to review the

orders, it is for him to decide what to do.

    (3)    To     the       extent        that    plaintiff       Charest’s

objections      and     motion       can     be    construed       to      ask


                                      2
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Magistrate Judge Adams to reconsider her orders, it is

for her to decide what to do.

    DONE, this the 24th day of September, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
